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                       UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                 Case No. 1:22-cv-00329-BLW

                                            ORDER
              Plaintiff,

         v.

 THE STATE OF IDAHO,

              Defendant.



      IT IS HEREBY ORDERED that the following recitation of deadlines and

procedures will govern the filing by amicus curiae in this litigation:

   1. Applicability: This Order governs amicus curiae filings during the Court’s

      consideration of the United States’ motion for a preliminary injunction.




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  2. When Permitted: An amicus curiae may file an amicus curiae brief only

      upon leave of Court, which may be granted after the submission of a motion

      for leave to file.

  3. Motion for Leave to File: A motion for leave to file an amicus brief shall

      concisely state the nature of the movant’s interest; identify the party or

      parties supported, if any; and set forth the reasons why an amicus brief is

      desirable, why the movant’s position is not adequately represented by a

      party, and why the matters asserted are relevant to the disposition of the

      case. The motion shall state the position of each party as to the filing of such

      a brief. The prospective amicus curiae must submit a proposed order

      consistent with Idaho Local District Civil Rules.

  4. Timing: An amicus curiae supporting the United States of America must

      file its brief, accompanied by a motion for filing, no later than August 15,

      2022. An amicus curiae supporting the State of Idaho must file its brief,

      accompanied by a motion for filing, no later than 12:00 MDT on August

      19, 2022. An amicus curiae that does not support either party must file its

      brief no later than no later than 12:00 MDT on August 19, 2022.

  5. Contents and Form: An amicus brief must comply with the requirements

      set forth in Federal Rule of Appellate Procedure 29(a)(4) and Idaho Local

      District Civil Rule 7.1. and shall not exceed 20 pages.


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  6. Oral Argument: An amicus curiae may participate in oral argument only

      with the Court’s permission.

  7. Docketing Clerk: If you have a docketing question, please contact a docket

      clerk at (208) 334-1361.



                                          DATED: August 8, 2022


                                          _________________________
                                          B. Lynn Winmill
                                          U.S. District Court Judge




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